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                      7
                      8                          UNITED STATES DISTRICT COURT
                      9                         CENTRAL DISTRICT OF CALIFORNIA
                   10
                   11     ROBERT CONOHAN, individually and              Case No. 2:25-cv-00106-PVC
                          on behalf of all others similarly situated,
                   12                                                   CLASS ACTION
                                           Plaintiff,
                   13                                                   DEFENDANT’S MEMORANDUM
                                v.                                      OF POINTS AND AUTHORITIES
                   14                                                   IN SUPPORT OF ITS MOTION TO
                          RAD POWER BIKES, INC., a                      DISMISS PLAINTIFF’S
                   15     Washington corporation,                       COMPLAINT
                   16                      Defendant.                   [Filed concurrently with Notice of
                                                                        Motion, Declaration of Lynn R.
                   17                                                   Fiorentino and [Proposed] Order]
                   18                                                   Date:            April 8, 2025
                                                                        Time:            10:00 a.m.
                   19                                                   Courtroom:       590
                                                                        Judge:           Hon. Pedro V. Castillo
                   20
                   21
                                                                        Date Action Filed: January 6, 2025
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                      1                 MEMORANDUM OF POINTS AND AUTHORITIES
                      2   I.      INTRODUCTION
                      3           This case is hardly unique. It is the latest in an avalanche of cookie-cutter
                      4   complaints filed by Plaintiff’s counsel, Tauler Smith LLP (“Tauler Smith”), under a
                      5   statute that was enacted solely for the purpose of authorizing law enforcement
                      6   agencies to intercept the “signaling information” – but not the content – of telephone
                      7   calls.1 What does this case have to do with court-authorized law enforcement
                      8   interception of the telephone numbers called by potential criminals? Absolutely
                      9   nothing.
                   10             Instead, this case effectively seeks to criminalize the Internet through a bait
                   11     and switch. That is, it concerns the reception – not the interception – of online data
                   12     exchanges and common website analytics tools used by website operators, under the
                   13     novel theory that these technologies amount to illegal “trap and trace” devices under
                   14     section 638.51 of the California Invasion of Privacy Act (“CIPA”). How common is
                   15     it for website operators to obtain “signaling information” and use analytics tools – as
                   16     expressly authorized under the California Consumer Privacy Act (“CCPA”), the
                   17     actual law that governs the online privacy issues at here? The Court’s PACER
                   18     website admittedly “collect[s] and store[s]” every visitor’s “IP address” and the “type
                   19     of browser and operating system used to access the pacer.uscourts.gov site.”2 The
                   20     Los Angeles County Superior Court’s website discloses that it engages in “USER
                   21     TRACKING AND DATA CAPTURE PRACTICES,” expressly including the
                   22     collection of “IP addresses” “to help us improve our web sites.”3 In addition, the
                   23     websites of this Court, the Superior Court, and the Supreme Court of California all
                   24     use Google Analytics, which allows Google to be sent the same data sets as TikTok,
                   25
                          1
                   26            See Declaration of Lynn Fiorentino (“Fiorentino Decl.”), ¶ 11, Ex. J. (“AB
                          929 would authorize state and local law enforcement officers to use pen register and
                   27     trap and trace devices, including during emergency situations. The bill will require
                          law
                          2
                               enforcement officers to obtain a court order”).
                   28     3
                                 See https://pacer.uscourts.gov/privacy, see also Fiorentino Decl., ¶ 2, Ex. A.
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                                 See https://www.lacourt.org/website/HO0050.aspx.
   ATTORNEYS AT LAW                                         ˗2˗                  2:25-CV-00106-PVC
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                      1   such as visitor browser and device information.4 The Governor’s official website
                      2   openly incorporates a TikTok plugin,5 and deploys Google Analytics and the Meta
                      3   Pixel, the latter of which similarly allows Meta to identify specific Facebook and/or
                      4   Instagram users that have visited the Governor’s site.6 Both the California Attorney
                      5   General and the California Privacy Protection Agency – the government agencies
                      6   literally tasked with protecting Californians’ privacy rights, including under CIPA –
                      7   also use Google Analytics and the Meta Pixel on their respective websites without
                      8   any conspicuous disclosure.7 So too does the Sheriff’s Department website,8 and the
                      9   U.S. Attorney’s Office.9
                   10             Last but certainly not least, Tauler Smith itself also uses Google Analytics to
                   11     track visitors on its own website.10     Indeed, Tauler Smith discloses through its
                   12     website privacy policy – no differently than the hundreds11 of other businesses this
                   13     4
                                  See https://support.google.com/analytics/answer/11593727?hl=en. Google
                   14     further publicly discloses that its Google Analytics cookie also collects various
                          demographic data such as age range, gender, city, etc., by default. See
                   15     https://support.google.com/analytics/answer/9268042?sjid=4097383955495352501
                          -NA&visit_id=638621968629060317-124154985&rd=2; see also
                   16     https://www.cnn.com/2023/03/24/tech/tiktok-ban-national-security-
                          hearing/index.html (“TikTok is not unique: the same tool is used by US tech giants
                   17     including Facebook-parent Meta and Google on a far larger scale, according
                          to
                          5
                              Malwarebytes, a leading cybersecurity firm.) (emphasis added).
                   18     6
                                  See https://www.gov.ca.gov/; see also Fiorentino Decl., ¶ 3, Ex. B.
                          7
                                  See Fiorentino Decl., ¶ 4, Ex. C.
                   19     8
                                  See Id., ¶¶ 5-6, Exs. D, E.
                          9
                                  See Id., ¶ 7, Ex. F.
                   20     10
                                  See Id., ¶ 8, Ex. G.
                          11
                                  See Id. at ¶ 9, Ex. H.
                   21             Tauler Smith has a troubling history of pursuing high-volume sham litigation
                          as a means of extracting in terrorem settlements. The firm was recently found
                   22     guilty of violating RICO as part of a multi-year scheme targeting primarily
                          immigrant-run and mom-and-pop shops with frivolous demand letters and
                   23     litigation. See https://www.reuters.com/legal/government/how-legal-brawl-over-
                          male-enhancement-pills-led-rico-verdict-against-this-la-2023-03-24/ (last accessed
                   24     January 23, 2025); see also https://casetext.com/case/in-re-outlaw-labs-lp-litig-19
                          (court order summarizing that Tauler Smith “sent an estimated 15,000 demand
                   25     letters” and this was after “Tauler Smith tested an enhancement pill from Sunset
                          Liquor, the pill did not contain the active ingredients subject to the FDA notice, but
                   26     that Robert Tauler ‘did not care.’”) (emphasis added) (last accessed January 23,
                          2025). Rather than accept accountability and the jury’s verdict, Tauler Smith
                   27     instead sued its bank for allowing part of the judgment against it to be collected.
                          See, generally, Tauler Smith LLP v. JPMorgan Chase Bank (C.D. Cal., filed June
                   28     13, 2024) Civ. No. 2:24-cv-05013-ODW-AWW. Unfortunately for RPB and
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                          hundreds of other businesses, what’s past is prologue.
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                      1   firm is pursuing – that simply “[b]y using our Website, you agree to the use of cookies
                      2   on your browser” and this will entail the automatic collection of “the website you
                      3   came from[], the type of browser you use, the device you connected from, the date
                      4   and time of your access, and other data” including “your IP address,” “your email
                      5   address, phone number, and social media account information… . The cookies allow
                      6   the Website to recognize you if you visit the Website again.”12 In other words, Tauler
                      7   Smith publicly boasts that it is “violating” Section 638.51 of the Penal Code exactly
                      8   as it is accusing RPB in its form Complaint. See Compl. ¶ 31 (alleging that RPB
                      9   “uses a trap and trace process on its Website … because the software is designed to
                   10     capture the phone number, email, routing, addressing and other signaling information
                   11     of website visitors.”). It is therefore difficult to imagine a less principled pursuit of
                   12     other businesses for setup claims under a criminal law – for doing exactly what Tauler
                   13     Smith is admittedly doing itself.13
                   14           Does this mean that Tauler Smith and every level of government in California
                   15     are also violating Section 638.51 of the Penal Code? More than that, if it were a
                   16     violation of Section 638.51 for the receiving party to “collect” the “signaling
                   17     information” associated with a “communication” without a court order – which is
                   18     exactly Plaintiff’s theory here, Compl. ¶ 29 – then tens of millions of Californians
                   19     violate this law every day by using Caller ID on their phones. Ultimately, however,
                   20     Section 638.51 and its regulation of obscure “pen registers” and “trap and trace
                   21     devices” have nothing to do with how public and private entities operate their
                   22     websites – the California Legislature14 did not silently criminalize the Internet.
                   23
                          12
                   24     13
                                 See Fiorentino Decl., ¶ 10, Ex. I.
                                 See https://www.taulersmith.com/california-invasion-of-privacy-act/ (“To
                   25     win your CIPA claim, you will need to prove that the conversation was illegally
                          recorded in the first place. In some cases, this will be obvious because the
                   26     business will reveal that they are monitoring and recording … .”) (emphasis
                          added).
                          14
                   27            Not to belabor the point, but the California Legislature also uses comparable
                          analytics software on its official sites, as do the Legislators on their personal sites,
                   28     such as https://www.rivasca.com/. It’s reasonable to assume that Legislators do not
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                          enact laws that would mandate their immediate arrest.
   ATTORNEYS AT LAW                                     ˗4˗                   2:25-CV-00106-PVC
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                      1         As a threshold issue, however, the initial issue here is whether hundreds of
                      2   millions of Americans, or millions of website operators like RPB, can be haled into
                      3   a California court simply because a California plaintiff targets them. This, of course,
                      4   would turn the standards of personal jurisdiction on their head. At bottom, the Court
                      5   has no personal jurisdiction over RPB, and never can based on Plaintiff’s express
                      6   dispute concerning how RPB operates its website generally, as multiple Courts of
                      7   Appeals have recently held in indistinguishable cases.
                      8   II.   STATUTORY FRAMEWORK
                      9         At the outset, it must be underscored that California has a first-in-the-nation
                   10     comprehensive privacy law that gives consumers control over their personal data –
                   11     the California Consumer Privacy Act (“CCPA”), as amended by the California
                   12     Privacy Rights Act (“CPRA”). The CCPA purposely addresses how businesses can
                   13     use consumers’ information obtained online, what disclosures are required, and how
                   14     such disclosures need to be made. Relevant here, Section 7012(c) of the CCPA
                   15     regulations specifically authorizes website operators to collect personal information
                   16     by “post[ing] a conspicuous link to the notice on the introductory page of the
                   17     business’s website and on all webpages where personal information is collected.”
                   18     Title 11, Div. 6, Ch. 1 § 7012(c)(1). If website operators like RPB provide notice of
                   19     their data collection practices through a linked website privacy policy, they are
                   20     permitted to collect personal information of individuals visiting their website,15
                   21     subject to an individual’s (1) right to know, (2) right to delete, (3) right to opt out,
                   22     and (4) right to non-discrimination.16
                   23           There is no claim here – nor could there be – that RPB is not in compliance
                   24     with any applicable requirements under the CCPA, the law that was enacted to
                   25     specifically address online privacy issues, expressly including the use of website
                   26     15
                                See California Privacy Protection Agency, What General Notices Are
                   27     Required By The CCPA? (ca.gov) (“If the business doesn’t give this notice, it is not
                          allowed
                          16
                                  to collect personal information from the consumer.”).
                   28           See California Consumer Privacy Act (CCPA) | State of California -
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                          Department of Justice - Office of the Attorney General.
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                      1   “cookies, beacons, pixel tags, mobile ad identifiers, or similar technology” – the
                      2   exact technology Plaintiff complains about here. Civ. Code § 1798.140 (emphasis
                      3   added); Compl. ¶ 14. And it “is a cardinal rule of statutory interpretation that specific
                      4   statutory regulations control over the general statutes.” Steilberg v. Lackner (1977)
                      5   69 Cal. App. 3d 780, 788.17
                      6         As for such general statutes, Plaintiff’s claim arises under CIPA, a law
                      7   originally enacted in 1967 – well before the Internet age – for the express purpose of
                      8   preventing “eavesdropping upon private communications” and “the invasion of
                      9   privacy resulting from the continual and increasing use” of “modern listening
                   10     devices.” Penal Code § 630. In short, the California Legislature wanted to prevent
                   11     snooping on private conversations, and this is Plaintiff’s attempt to put old wine in
                   12     a new bottle. Relevant here, while Plaintiff’s claim arises under Section 638.51, a
                   13     2015 addition to CIPA, it is critical to understand the statutory context of CIPA as a
                   14     whole to appreciate why Section 638.51 cannot apply to website operators.18
                   15           First, there is the “interception” prohibition under CIPA Section 631 – which
                   16     applies to third-party “wiretapping” of private communications in transit over a
                   17     wire. More specifically, the California Supreme Court has held that Section 631
                   18     protects against three types of harms: “[1] intentional wiretapping, [2] willfully
                   19     attempting to learn the contents or meaning of a communication in transit over a
                   20     wire, and [3] attempting to use or communicate information obtained as a result of
                   21     engaging in either of the two previous activities.” Tavernetti v. Superior Court (1978)
                   22
                          17
                   23            Notably, in a thoughtful decision that applied this principle in a directly
                          analogous case, the Massachusetts Supreme Court recently held that its state’s
                   24     comparable “wiretapping” law simply does not apply to website analytics tools. See
                          Vita v. New England Baptist Hosp., 494 Mass. 824, 839, 243 N.E.3d 1185, 1198
                   25     (2024) (holding that only person-to-person communications were meant to be
                          covered
                          18
                                   by such laws, not interactions with websites).
                   26            “[W]ell established rules of statutory construction” require that “every statute
                          should be construed with reference to the whole system of law of which it is a part,
                   27     so that all may be harmonized and have effect,” and separate sections, like Sections
                          638.51 and 638.52 here, “must be read together and so construed as to give effect,
                   28     when possible, to all the provisions thereof.” Mejia v. Reed (2003) 31 Cal. 4th 657,
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                          663.
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                      1   22 Cal.3d 187, 192 (emphasis added). Critically, given CIPA’s express purpose of
                      2   preventing eavesdropping and as a further common-sense guardrail, Section 631
                      3   consistently “has been held to apply only to eavesdropping by a third party and not
                      4   to recording by a participant to a conversation.” Warden v. Kahn (1979) 99 Cal.
                      5   App. 3d 805, 811; see also Valenzuela v. Alexander Wang, LLC, 23STCV12422
                      6   (L.A. Superior Ct., Dec. 27, 2023) (finding that website operator is categorically
                      7   immune from liability under Section 631 of CIPA – as “[e]mploying another to
                      8   record one’s conversations is the sort of conduct that would be outlawed by section
                      9   632,” rather than section 631) (emphasis added).19
                   10           The Court of Appeal in Rogers v. Ulrich fully embraced this conclusion as
                   11     well: “a recording made by a participant does not intercept the message while it is
                   12     in transit; the recording rather transcribes the message as it is being received.”
                   13     Rogers, (1975) 52 Cal. App. 3d 894, 898 (emphasis added). The key takeaway is
                   14     this: under decades of binding CIPA precedent, parties to a communication do not
                   15     intercept their own messages; they receive them.20 This makes perfect sense because
                   16     intercepting a communication means “to stop, seize, or interrupt in progress or course
                   17     before arrival.” Konop v. Hawaiian Airlines, Inc., 302 F.3d 868, 878 (9th Cir. 2002)
                   18     (emphasis added). That is why it is conceptually impossible under this plain-English
                   19     definition for any party to “intercept” that same communication at its destination –
                   20     here, RPB’s website.
                   21           As for recording by a party, Section 632 applies to any person who
                   22     “intentionally and without the consent of all parties to a confidential communication,
                   23     uses an electronic amplifying or recording device to eavesdrop upon or record the
                   24     confidential communication.” Penal Code § 632. This language has uniformly been
                   25
                          19
                   26            See also Powell v. Union Pac. R. Co., 864 F. Supp. 2d 949, 954 (E.D. Cal.
                          2012) (ruling that Section 631 applies only to “third party actions and therefore, as
                   27     a party to the call, he cannot be liable as a matter of law”; further ruling by
                          extension that a party to conversation cannot “be liable for aiding or conspiring
                   28     with
                          20
                               a third party to enable that party to listen in on the call.”) (emphasis added)
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                                 This is why no one would ask, “did you intercept that email I sent you?”
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                      1   construed to prohibit one party to a confidential communication from recording that
                      2   communication without the knowledge or consent of the other party. Warden, 99
                      3   Cal. App. 3d at 812. See People v. Nakai, (2010) 183 Cal. App. 4th 499, 519,
                      4   (analyzing whether to exclude recorded sexual chat transcripts under Section 632,
                      5   and not Section 631, and holding as a matter of law that “it was not reasonable … to
                      6   expect that the communications to be confidential because … the communications
                      7   could have easily been shared or viewed” by chat service provider “or any computer
                      8   user”); see also People v. Cho, No. E049243, 2010 WL 4380113, at *5 (Cal. Ct. App.
                      9   Nov. 5, 2010) (“lewd or lascivious” online “chat conversations do not qualify as
                   10     confidential communications for purposes of Section 632” and holding that such
                   11     conversations are not protected under CIPA).
                   12           The “pen register/trap and trace” sections of CIPA were a 2015 addition
                   13     against this well-settled backdrop. Specifically, the sole “purpose of this bill [was] to
                   14     authorize state and local law enforcement to use pen register and trap and trace
                   15     devices under state law, and to permit the issuance of emergency pen registers and
                   16     trap and trace devices.”21 According to the bill’s author:
                   17           One of the tools available to law enforcement is called a ‘pen register’
                   18           which allows law enforcement officers to record all outgoing numbers
                                from a particular telephone line. In addition, another tool law
                   19           enforcement uses is called a ‘trap and trace device’ which allows them
                                to record what numbers have called a specific telephone line, i.e. all
                   20           incoming phone numbers. Both pen registers and trap and trace
                                devices do not record audio or text messages and cannot be used to
                   21           obtain real-time location data on a cellular telephone. But these tools
                   22           are extremely useful for law enforcement in situations such as gang and
                                narcotic investigations.22
                   23
                   24           Put simply, this law was enacted for no other reason than to facilitate law
                   25     enforcement’s ability to place such devices on telephone lines to intercept the
                   26
                          21
                   27     22
                                 See Fiorentino Decl., ¶ 11, Ex. J.
                                 See Fiorentino Decl., ¶ 11, Ex. J. Thus, according to the law’s author, pen
                   28     registers obtain information on the outgoing telephone numbers dialed, while trap
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                          and trace devices collect the incoming numbers.
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                      1   “signaling information” of telephone calls.23 There is not a single reference in the
                      2   legislative history of this law having any impact on the parties to a communication,
                      3   let alone anything about websites or online privacy. In fact, other laws enacted before
                      4   and after Section 638.51 mandate the collection of the “signaling information” of
                      5   website visitors in various circumstances.            See, e.g., Cal. Gov’t Code §
                      6   8231.18(c)(3)(A)(iv) (“A business shall produce an audit trail detailing … [t]he
                      7   Internet Protocol address of the party performing the action.”); see also 18 U.S.C. §
                      8   2258A(b)(1) (mandating that service providers report information related to
                      9   suspected child sexual exploitation, including “the electronic mail address, Internet
                   10     Protocol address, uniform resource locator, … or other identifying information” of
                   11     the applicable website user). Clearly, it would be absurd to conclude that the
                   12     Legislature intended for businesses to simultaneously violate criminal law in order
                   13     to comply with their other legal obligations.
                   14            Given this, it is not surprising that the regulation of these devices (not) at issue
                   15     here builds off the definitions of “wire communication” and “electronic
                   16     communication” that are expressly limited “to the interceptions of wire and
                   17     electronic communications.” Penal Code §§ 629.51, 638.50 (emphasis added). That
                   18     is, the definitions employed in Sections 538.51-53 relevant here “have the meanings
                   19     set forth in subdivision (a) of Section 629.51,” id. § 630.50, which again, “applies to
                   20     the interceptions of wire and electronic communications. It does not apply to stored
                   21     communications or stored content.” Penal Code § 629.50(b) (emphasis added). And
                   22     as established above, a party to a communication legally cannot intercept it, but only
                   23     receive it.
                   24            Similarly reinforcing that this law only applies to third parties (and particular
                   25     ones at that), rather than parties to a communication, Sections 538.51-53 only
                   26     23
                                 Again, under the undisputed intent of this law applying to telephone calls,
                   27     every person that uses Caller ID service – which is effectively everyone with phone
                          service today – would need to obtain a court order to “collect” the “signaling
                   28     information” of the calling party under Plaintiff’s theory that this statute applies to
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                          parties to the communication.
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                      1   encompass two distinct entities: communications service providers and law
                      2   enforcement. That’s it. Specifically, Section 538.51 – which incorporates the
                      3   definitions limited to interceptions – provides that “a person may not install or use a
                      4   pen register or a trap and trace device without first obtaining a court order pursuant
                      5   to Section 638.52 or 638.53.” Penal Code § 638.51(a). Subsection (b) of 638.51
                      6   provides certain exceptions only for “[a] provider of electronic or wire
                      7   communication service” – such as to provide such services or with the consent of the
                      8   user. Id. at 638.51(b)(1)-(5).
                      9         Sections 638.52 and 638.53, in turn, only apply to “a peace officer” and their
                   10     ability to “make an application to a magistrate for an order … approving the
                   11     installation and use of a pen register or a trap and trace device.” Notably, any such
                   12     order issued by a magistrate must identify “the person to whom is leased or in whose
                   13     name is listed the telephone line to which the pen register or trap and trace device is
                   14     to be attached.” Penal Code § 638.52(d)(1); see also id. § 638.52(d)(3) (the order
                   15     “shall specify” the “physical location of the telephone line to which the pen register
                   16     or trap and trace is to be attached”).
                   17           In sum, only communications service providers and law enforcement officers
                   18     are expressly within the scope of this “interception” statute. While communications
                   19     service providers can obtain consent to install or use these signaling interception
                   20     devices, that is not a defense available to a party to a communication under this
                   21     statute, such as the millions of Californians that use Caller ID service to “trap” the
                   22     signaling information of who is calling them. And only peace officers can apply for
                   23     a court order to install or use such devices, provided the specific telephone line is
                   24     identified. The statutes at issue here thus do not even contemplate any application to
                   25     a party to any communication, let alone to website operators comprehensively
                   26     regulated by the CCPA.
                   27     ///
                   28
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                      1   III.   PLAINTIFF’S BOILERPLATE ALLEGATIONS
                      2          Relevant here, Plaintiff Robert Conohan is by all appearances a professional
                      3   plaintiff working with Tauler Smith to allegedly visit websites, do nothing more, and
                      4   then have identical24 “Trap and Trace” complaints filed on his behalf.
                      5          RPB,     for   its   part,   is   a   Washington   corporation   that   operates
                      6   “www.radpowerbikes.com (“Website), an online platform selling power bicycles and
                      7   bicycle accessories.” Id. ¶ 5. Plaintiff merely alleges that he “visited Defendant’s
                      8   website after the TikTok Software was installed and within the limitations period” –
                      9   and that’s it. Id. ¶ 9. RPB has no alleged presence in California, and nor does
                   10     Plaintiff allege he interacted with anyone through the Website. See Compl. There is
                   11     also no allegation that Plaintiff purchased anything from RPB, i.e., there is no
                   12     allegation that Defendant purposefully directed any activity into California related
                   13     to his claim.
                   14            Further, there is not a single allegation in the Complaint suggesting that RPB
                   15     operates the “TikTok Software” allegedly deployed on its website in a manner that
                   16     would target California residents in any unique way. See Compl. Rather, Plaintiff
                   17     alleges that the TikTok Software that is the sole basis of his claim collects data “on
                   18     the Website” regarding “an otherwise anonymous visitor” and “matches it with
                   19     existing data TikTok has acquired and accumulated about hundreds of millions of
                   20     Americans.” Id. ¶ 10 (emphasis added). In other words, Plaintiff is expressly
                   21     complaining about the general operation of RPB’s nationally-available website –
                   22     which does not in any way target California residents. Finally, Plaintiff does not
                   23     allege that he suffered any injury from the collection of the “otherwise anonymous”
                   24     24
                                 “Why is the entire complaint written at such a high level of generality that it
                   25     could apply word-for-word to the dozens of other businesses this law firm is suing?
                          And surely, whatever one’s views on the propriety of copying and pasting from
                   26     boilerplate pleadings, there is a point at which all reasonable people should agree
                          the practice has gone too far. This case reached that point, and then blew past it.”
                   27     Licea v. Caraway Home Inc., No. 22-CV-1791-JGB-SHKX, 2023 WL 1999496, at
                          *6 (C.D. Cal. Feb. 9, 2023) (emphasis added). This is how Judge Bernal recently
                   28     characterized similar cookie-cutter CIPA lawsuits filed against hundreds of
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                          companies that simply operate standard websites.
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                      1   information his device disclosed to the RPB website.
                      2   IV.   STANDARD OF REVIEW
                      3         A motion to dismiss under Rule 12(b)(2) is not limited to the pleadings and the
                      4   plaintiff bears the burden of establishing personal jurisdiction. Pebble Beach Co. v.
                      5   Caddy, 453 F.3d 1151, 1154 (9th Cir. 2006).
                      6         In resolving a 12(b)(6) motion, a plaintiff must state “enough facts to state a
                      7   claim to relief that is plausible on its face. Bell Atl. Corp. v. Twombly, 550 U.S. 544,
                      8   570 (2007). A claim has “facial plausibility” only if the plaintiff pleads facts – not
                      9   conclusions – that “allow[ ] the court to draw the reasonable inference that the
                   10     defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678
                   11     (2009). The Court must accept well-pleaded factual allegations as true, but
                   12     “[t]hreadbare recitals of the elements of a cause of action, supported by mere
                   13     conclusory statements, do not suffice.” Id at 678 (emphasis added).
                   14           In addition, the Court not only needs to interpret Section 638.51 consistent
                   15     with the overall statutory framework, see Mejia v. Reed (2003) 31 Cal. 4th 657, 663,
                   16     but also construe any ambiguities in favor of RPB given that Plaintiff seeks to enforce
                   17     a penal law. See People v. Avery (2002) 27 Cal. 4th 49, 58 (“ambiguous penal statutes
                   18     are construed in favor of defendants . . . [if] two reasonable interpretations of the
                   19     same provision stand in relative equipoise”); Warden v. Kahn (1979) 99 Cal. App.
                   20     3d 805, 814, 818, n.3 (as a penal statute, ambiguity in Section 631 should be
                   21     interpreted narrowly).25
                   22     ///
                   23     ///
                   24
                   25
                          25
                   26            Principles of statutory interpretation require that acts of a legislative body
                          receive uniform interpretation, regardless of whether the law is invoked in an
                   27     administrative, civil, or criminal case. See Clark v. Martinez, 543 U.S. 371, 380
                          (2005); see also Leocal v. Ashcroft, 543 U.S. 1, 11 n.8 (2004) (“Because we must
                   28     interpret the statute consistently, whether we encounter its application in a criminal
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                          or noncriminal context, the rule of lenity applies.”).
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                      1   V.    LEGAL ARGUMENT
                      2         A.     The Court Lacks Jurisdiction Over RPB
                      3         A California court’s assertion of personal jurisdiction over a nonresident
                      4   defendant comports with the requirements of the due process clause of the Federal
                      5   Constitution if the defendant has such minimum contacts with the state that the
                      6   assertion of jurisdiction does not violate traditional notions of fair play and
                      7   substantial justice. (Vons Companies, Inc. v. Seabest Foods, Inc. (1996) 14 Cal.4th
                      8   434, 435.) To establish minimum contacts, either general or specific jurisdiction can
                      9   be used. (Id. at p. 445.)
                   10           “General jurisdiction” exists where a defendant’s activities in the forum state
                   11     are sufficiently “substantial” or “continuous and systematic” to justify the exercise
                   12     of jurisdiction over the defendant in all matters, while “specific jurisdiction arises
                   13     when a defendant’s contacts with the forum give rise to the claim in question.”
                   14     Helicopteros Nacionales de Colombia S.A. v. Hall (1984) 466 U.S. 408, 414–416.
                   15           B.     General Jurisdiction Does Not Exist Over RPB
                   16
                                For a corporation, the paradigm forum for the exercise of general jurisdiction
                   17
                          is the place in which the corporation is fairly regarded as “at home,” meaning (1) its
                   18
                          place of incorporation; and (2) its principal place of business. Daimler AG v.
                   19
                          Bauman, 571 U.S. 117, 137 (2014), quoting Goodyear Dunlop Tires Operations, S.A.
                   20
                          v. Brown, 564 U.S. 915, 924 (2011).
                   21
                                Here, RPB is a Washington corporation with no alleged presence in California.
                   22
                          Compl. ¶ 5. Therefore, RPB cannot be said to be “at home” in California for purposes
                   23
                          of conferring general jurisdiction, as it is not incorporated in or have its principal
                   24
                          place of business in California.    And “only in an ‘exceptional case’ could [a
                   25
                          defendant] be subject to general jurisdiction in California” when its state of
                   26
                          incorporation and principal place of business are elsewhere. (Electro Scan, Inc. v.
                   27
                          Henrich (E.D. Cal. Mar. 21, 2019) No. 218CV02689JAMEFB, 2019 WL 1299010,
                   28
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                      1   *4 (citing Ranza v. Nike, Inc. (9th Cir. 2015) 793 F.3d 1059, 1069)).
                      2         RPB therefore is not anywhere close to being “at home” in California, and
                      3   Plaintiff did not, and cannot, allege facts sufficient to meet the exacting standards for
                      4   establishing general jurisdiction.
                      5         C.     Specific Jurisdiction Does Not Exist Over RPB
                      6         Given the lack of general jurisdiction over RPB, Plaintiff must then show that
                      7   specific jurisdiction exists. That Plaintiff cannot do because his claim does not arise
                      8   out of any activity RPB purposefully directed into California – such as selling and
                      9   shipping a bicycle to a consumer with a California address. Indeed, numerous courts
                   10     have dismissed website operators for lack of personal jurisdiction in “wiretapping”
                   11     lawsuits filed in California for the same reason. See, e.g., Carroll v. The J.M.
                   12     Smucker Company, No. 3:22-cv-08952-WHA, 2023 WL 4053796, *5 (N.D. Cal. Jun
                   13     15, 2023) (dismissing complaint on personal jurisdictional grounds because out-of-
                   14     state defendant “ha[d] done no act and ha[d] consummated no transaction, nor ha[d]
                   15     it performed any act by which it purposefully availed itself of the privilege of
                   16     conducting activities in California relevant to this action.”); see also Massie v. Gen.
                   17     Motors Co., 2021 WL 2142728, *6 (E.D. Cal. May 26, 2021).
                   18           In fact, two Courts of Appeals similarly held that it would violate due process
                   19     for an out-of-state defendant to be haled into court to face “wiretapping” claims
                   20     because website analytics tools generally deployed on a company’s website do not
                   21     specifically target any particular state, and therefore specific jurisdiction is lacking.
                   22     See Rosenthal v. Bloomingdales.com, LLC (1st Cir. 2024) 101 F.4th 90, 93; Hasson
                   23     v. FullStory, Inc., 114 F.4th 181, 192 (3d Cir. 2024); accord Matus v. Premium
                   24     Nutraceuticals, LLC, 715 F. App’x 662, 663 (9th Cir. 2018).
                   25           These decisions are fully consistent with Ninth Circuit precedent, which
                   26     requires a Plaintiff to satisfy the following three-part test:
                   27
                                (1) The non-resident defendant must purposefully direct his activities
                   28           or consummate some transaction with the forum or resident thereof; or
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                      1         perform some act by which he purposefully avails himself of the
                                privilege of conducting activities in the forum, thereby invoking the
                      2         benefits and protections of its laws; (2) the claim must be one which
                      3         arises out of or relates to the defendant’s forum-related activities; and
                                (3) the exercise of jurisdiction must comport with fair play and
                      4         substantial justice, i.e. it must be reasonable.
                      5         Boschetto v. Hansing 539 F.3d 1011, 1016 (9th Cir. 2008) (emphasis added);
                      6   accord Gilmore Bank v. AsiaTrust New Zealand Ltd. (2014) 223 Cal. App.4th 1558,
                      7   1568. “The plaintiff bears the burden of satisfying the first two prongs of the test.”
                      8   Schwarzenegger v. Fred Martin Motor Co. (9th Cir. 2004) 374 F.3d 797, 802.
                      9         The starting point, then, is for Plaintiff to show that RPB “either purposefully
                   10     availed itself of the privilege of conducting activities in California, or purposefully
                   11     directed its activities toward California.” Id. Where, as here, Plaintiff’s claim sounds
                   12     in tort rather than contract, analysis of purposeful direction, rather than purposeful
                   13     availment, is appropriate. Id. To show purposeful direction, Plaintiff must plead
                   14     facts to satisfy the “effects test”: RPB must have “(1) committed an intentional act,
                   15     (2) expressly aimed at the forum state, (3) causing harm that [RPB] knows is likely
                   16     to be suffered in the forum state.” Id. at p. 803 (citing Dole Food Co., Inc. v. Watts,
                   17     303 F.3d 1104, 1111 (9th Cir. 2002) (emphasis added); Calder v. Jones (1984) 465
                   18     U.S. 783. If Plaintiff can satisfy this test (which he cannot), Plaintiff must then tie
                   19     his claim to that purposefully directed act to establish jurisdiction. Id.
                   20           Preliminarily, Plaintiff’s apparent theory of personal jurisdiction is based
                   21     solely on the conclusory assertion that “Defendant has purposefully directed its
                   22     activities to the Central District of California by regularly engaging with individuals
                   23     in California through its website.” Compl. ¶ 2. While it is facially unclear what
                   24     Plaintiff means by “engaging with individuals,” presumably Plaintiff means RPB
                   25     selling bicycles, accessories and providing related product support through its
                   26     website. However, such a conclusory allegation, even accepted as true, cannot
                   27     support specific jurisdiction over a non-resident retailer where, as here, the product
                   28     or service placed into commerce is not the basis of Plaintiff’s claim.              See
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                      1   Helicopteros, supra, 466 U.S. at p. 418 (“[M]ere purchases, even if occurring at
                      2   regular intervals, are not enough to warrant a State’s assertion of in personam
                      3   jurisdiction over a nonresident corporation in a cause of action not related to those
                      4   purchase transactions.”) (emphasis added).
                      5         The reality is that the only “targeting” that occurred was by Plaintiff to set up
                      6   this claim. That is, what Plaintiff is alleging is that he visited an out-of-state
                      7   company’s general website, which he then alleges incorporates “software created by
                      8   TikTok on its website to identify website visitors.” Compl. ¶ 13. This is akin to
                      9   someone calling you, your phone collects that person’s telephone number, and then
                   10     they try to sue you across the country. In other words, Plaintiff’s Complaint has
                   11     nothing to do with RPB targeting California, let alone Plaintiff, but the general
                   12     operation of RPB’s national website. Indeed, Plaintiff’s own allegations make this
                   13     abundantly clear: “the TikTok Software collects as much data as it can about an
                   14     otherwise anonymous visitor to the Website and matches it with existing data
                   15     TikTok has acquired and accumulated about hundreds of millions of Americans.”
                   16     Id. ¶ 10 (emphasis added). Simply put, Plaintiff is unambiguously complaining about
                   17     the general operation of RPB’s website for every website visitor across the country,
                   18     rather than anything targeting California or its residents.
                   19           As previewed above, numerous courts have held in indistinguishable cases that
                   20     exercising personal jurisdiction over RPB would violate due process here under
                   21     indistinguishable circumstances. For example, in Massie, a California federal court
                   22     held that General Motors was not subject to personal jurisdiction in California
                   23     because “Plaintiffs’ claims arise from and relate to session recording software
                   24     allegedly installed on GM’s nationally accessible websites, software that GM
                   25     licensed and used outside California, which allegedly assisted Decibel’s interception
                   26     of interactions with GM’s websites.” Massie, supra, 2021 WL 2142728, *6 (holding
                   27     that “GM’s operation of broadly accessible websites does not constitute the type of
                   28     minimum contacts with the forum needed for specific personal jurisdiction.”)
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                      1   (emphasis added). Similarly, the Northern District of California held that The J.M.
                      2   Smucker Company was not subject to personal jurisdiction in California in a suit
                      3   involving the general deployment of the Meta Pixel on its nationally accessible
                      4   website. J.M. Smucker Company, supra, 2023 WL 4053796, *4 (holding that
                      5   complaint concerning general operation of website could not satisfy purposeful
                      6   direction, and given underlying theory, no jurisdictional discovery was warranted).
                      7         Further, the First Circuit recently became the first federal appellate court to
                      8   address the exact issue presented here: whether a nationally accessible website’s use
                      9   of analytics software creates specific personal jurisdiction for wiretapping claims in
                   10     any state where the plaintiff visited the website. The First Circuit concluded that it
                   11     does not. Bloomingdales.com, LLC, supra, 101 F.4th at p. 97. Rather, it held that
                   12     Ohio-based Bloomingdales.com did not intentionally target its website and its
                   13     accompanying use of analytics software at users in Massachusetts, given that it was
                   14     not “intentionally operating its website – and the accompanying” analytics software,
                   15     in a manner specifically targeted at Massachusetts residents. Id. The plaintiff
                   16     therefore failed to establish specific personal jurisdiction over Bloomingdales.com
                   17     for alleged violations of the Massachusetts Wiretapping Act and Massachusetts
                   18     Invasion of Privacy Statute. Id.
                   19           The Third Circuit followed suit last September in another case directly on
                   20     point, affirming that Papa John’s – which operated nearly 100 brick-and-mortar
                   21     pizzerias in the state – was still not subject to personal jurisdiction in Pennsylvania
                   22     in connection with a “wiretapping” claim “because Papa Johns did not expressly aim
                   23     Session Replay Code at Pennsylvania.” Hasson, supra, 114 F.4th at 188. That’s
                   24     because “a defendant does not expressly target a forum merely by operating a website
                   25     that is accessible there—even when the plaintiff alleges harm in that forum arising
                   26     out of his engagement with that website.” Id. at 190; accord MA Multimedia, LLC
                   27     v. Wanat, 970 F.3d 1201, 1210 (9th Cir. 2020) (affirming no personal jurisdiction
                   28     over website operator in California because website “lacks a forum-specific focus.”);
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                      1   see also ThermoLife Int’l, LLC v. NetNutri.com LLC, 813 F. App’x 316, 318 (9th Cir.
                      2   2020) (affirming dismissal for lack of personal jurisdiction based on a “highly
                      3   interactive” website and product sales unconnected to Plaintiffs’ claims). “If [RPB]
                      4   can be haled into California merely on the basis of its universally accessible website,
                      5   then, under [Plaintiff’s] proposed rule, it can be haled into every state, and
                      6   respectively, every online advertiser worldwide can be haled into California.” Matus,
                      7   supra, 715 F. App’x at p. 663.
                      8         This is why Californian courts have likewise repeatedly dismissed similar
                      9   CIPA claims against website operators for lack of personal jurisdiction. For example,
                   10     in Mikulsky v. Noom, the Southern District of California dismissed a CIPA claim for
                   11     lack of specific personal jurisdiction where, among other reasons, Plaintiff’s
                   12     allegations that Noom “knows that many users visit and interact with Noom’s website
                   13     while they are physically present in California…and Defendant knew that its
                   14     practices would directly result in collection of information from California citizens”
                   15     “fail[ed] to show conduct directly targeting the forum state” because “Plaintiff
                   16     fail[ed] to include a single allegation detailing how [Noom’s] ‘interactive website’ is
                   17     targeted at California.” 682 F.Supp. 3d 855, 867–68 (S.D. Cal. 2023). Like Noom,
                   18     Plaintiff’s Complaint contains “no allegations detailing the level of interactivity of
                   19     [RPB] website,” “no allegations regarding whether [RPB] use of [the pen register or
                   20     a trap and trace device] specifically targets California users” and “no allegations
                   21     showing that [RPB website] specifically targets Californians.” Id. at 868. See also
                   22     Sacco v. Mouseflow, Inc., No. 2:20-cv-02330-TLN-KJN, 2022 WL 4663361, at *5
                   23     (E.D. Cal. Sept. 30, 2022) (finding no “express aiming” necessary for specific
                   24     personal jurisdiction where an alleged recording of an individual’s visit to a
                   25     nationally available website and collection of their personal data “would have
                   26     occurred no matter the state Plaintiff was in”).26
                   27     26
                                 See also Saleh v. Nike, Inc., 562 F. Supp. 3d 503, 515–16 (C.D. Cal. 2021)
                   28     (finding no personal jurisdiction in California over session replay provider in
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                          wiretapping lawsuit relating to use of session replay tool on nationally accessible
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                      1         Put simply, operating a nationwide website available to users in California
                      2   does not constitute express aiming at California, and that is all Plaintiff alleges, or
                      3   could allege, here related to his claim. Ultimately, there is a reason that there is not
                      4   a single well-pled allegation that would support the exercise of jurisdiction over RPB
                      5   here: because none exists. What Plaintiff is specifically complaining about is the
                      6   general operation of RPB’s website and its alleged use of the TikTok Software. And
                      7   by Plaintiff’s own admission, this is occurring on a national level, without any
                      8   purposeful direction toward California. Compl. ¶ 10. Plaintiff’s template Complaint
                      9   is therefore ultimately self-defeating, as it expressly shows that RPB does not aim
                   10     any of its alleged conduct at issue at California – such that it is legally impossible
                   11     that Plaintiff’s claims can be deemed to “arise[] out of or relate[] to the defendant’s
                   12     forum-related activities.” Schwarzenegger, supra, 374 F.3d at p. 802. “What is
                   13     needed—and what is missing here—is a connection between the forum and the
                   14     specific claims at issue.” Bristol-Myers Squibb Co. v. Superior Court of Ca., San
                   15     Francisco County (2017) 137 S. Ct. 1773, 1781. Accordingly, RPB asks the Court
                   16     to dismiss this action for lack of personal jurisdiction, with prejudice.
                   17     VI.   PLAINTIFF FAILS TO STATE A CLAIM AGAINST RPB
                   18           A.     Plaintiff Has Not Alleged Any Injury-In-Fact And Lacks Standing.
                   19           Plaintiff’s Complaint should be dismissed on the threshold ground that he
                   20     never alleges any concrete injury stemming from his alleged visit to the website,
                   21     which is a both statutory requirement for any claim under CIPA, as well as a
                   22     jurisdictional requirement under Article III. See Cal. Penal Code § 637.2(a) (“Any
                   23     person who has been injured by a violation of this chapter may bring an action
                   24     against the person who committed the violation”) (emphasis added). In fact, in nearly
                   25     identical “wiretapping” cases, both the Ninth and Eighth Circuits independently ruled
                   26     last month that allegations that a website collects information regarding an
                   27
                   28     website because the plaintiff “failed to allege facts showing FullStory expressly
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                          aimed its conduct toward California”).
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                      1   individual’s visit fails to establish any “injury in fact that is concrete, particularized,
                      2   and actual or imminent.” See Daghaly v. Blommingdales.com, LLC, 2024 WL
                      3   5134350, *1 (9th Cir. Dec. 17, 2024); Jones v. Bloomingdales.com, LLC, No. 23-
                      4   3304, 2024 WL 5205528, at *4 (8th Cir. Dec. 24, 2024) (affirming dismissal of
                      5   website-analytics invasion of privacy claims because plaintiff “has not plausibly
                      6   alleged that she suffered a concrete injury, and so she lacks standing to bring these
                      7   suits. We do so not because we think she experienced only a slight invasion of her
                      8   privacy, … but because her allegations do not plausibly suggest that she suffered any
                      9   such invasion at all.”) (emphasis added). Indeed, lack of injury was precisely one
                   10     of the grounds for dismissal recently adopted in a cookie-cutter “trap and trace” case
                   11     filed by Plaintiff’s counsel in this District. See Hughes v. Vivint, Inc., 2024 WL
                   12     5179916 (C.D. Cal. 2024) (holding identical complaint lacks any well-pled
                   13     allegations of injury, and “[e]ven if Plaintiff was more specific in alleging what
                   14     information of hers was collected by the TikTok Software, her arguments regarding
                   15     the harm associated with her invasion of privacy would still be flawed.”); see also
                   16     Rodriguez v. Fountain9, Inc., No. 24STCV04504, 2024 WL 3886811, at *4
                   17     (Cal.Super. July 09, 2024) (“Plaintiff fails to allege a concrete injury-in-fact.”).
                   18     Except for the caption, this case is no different.
                   19           In short, “[s]tanding is a threshold issue necessary to maintain a cause of
                   20     action, and the burden to allege and establish standing lies with the plaintiff.”
                   21     Mendoza v. JPMorgan Chase Bank, N.A., 6 Cal.App.5th 802, 809 (2016). Here,
                   22     merely visiting a public website – one that admittedly provides conspicuous notice
                   23     of its privacy practices, consistent with the CCPA, Compl. ¶ 12 – can hardly cause
                   24     any concrete injury from its collection of admittedly anonymous data. cf. Greenstein
                   25     v. Noblr Reciprocal Exch., 585 F. Supp. 3d 1220, 1228 (N.D. Cal. 2022) (no injury,
                   26     and thus no standing, even where data breach involved personal information).
                   27     Ultimately, Plaintiff never even attempts to allege any injury in his boilerplate
                   28     Complaint, and that is sufficient by itself to dismiss this case because he does not
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                      1   (and cannot) make out a prima facie case for the Court to assert jurisdiction over it.
                      2         B.     Plaintiff Cannot State A Claim Under Section 638.51 Against A
                                       Website Operator.
                      3
                      4         As previewed above, the foundational definitions, legislative intent, and

                      5   overall statutory framework make it legally impossible that a website operator can be

                      6   liable under Section 638.51. Indeed, to put the absurdity of Plaintiff’s theory into

                      7   perspective, under binding appellate decisions interpreting CIPA Section 632, a party

                      8   to a communication can disclose the actual content of a communication exchanged

                      9   over the Internet without any consent. In fact, this is true even when one party to a

                   10     conversation expects it to remain private, such as in Nakai and Cho above, where the

                   11     parties recorded were engaged in sexual conversations with individuals who were

                   12     posing as 12-year-old girls to catch pedophiles. See, e.g., Nakai, 183 Cal. App. 4th

                   13     at 518-19.27 But under Plaintiff’s theory, these “predator catchers” couldn’t even

                   14     collect the otherwise anonymous “signaling information,” such as a phone number,

                   15     email or IP address, associated with the underlying communication, the content of

                   16     which they were, again, free to broadcast to the world. Any law that would permit a

                   17     party to freely disclose the substance of a message that itself could identify the sender

                   18     directly, but you would face jail time for merely collecting anonymous signaling

                   19     information, wouldn’t survive a rational basis review, let alone more restrictive

                   20     scrutiny.28 To be sure, the Court does not need to address these constitutional issues

                   21     given the other fatal infirmities to Plaintiff’s claims, as detailed below.29

                   22
                          27
                   23           See also In re Google Inc., No. 13-MD-02430-LHK, 2013 WL 5423918, at
                          *23 (N.D. Cal. Sept. 26, 2013) (holding there is no “objectively reasonable
                   24     expectation that [plaintiffs’] email communications were ‘confidential’ under the
                          terms of section 632.”); Cline v. Reetz-Laiolo, 329 F. Supp. 3d 1000, 1052 (N.D.
                   25     Cal. 2018) (rejecting claim that “internet-based communications can be considered
                          ‘confidential’
                          28
                                         under CIPA”).
                   26           Under Ninth Circuit case law, the recording of speech itself qualifies as
                          speech entitled to the protection of the First Amendment. See Animal Legal Def.
                   27     Fund.
                          29
                                v. Wasden, 878 F.3d 1184, 1203–04 (9th Cir. 2018).
                                See Edward J. DeBartolo Corp. v. Florida Gulf Coast Building &
                   28     Construction Trades Council, 485 U.S. 568, 575 (1988) (there is a “prudential
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                          concern that constitutional issues not be needlessly confronted”).
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                      1         C.     The Trap and Trace Law Expressly Only Covers Communications
                                       In Transit And Third-Party Interception.
                      2
                                As established above, the “wire communication[s]” and “electronic
                      3
                          communication[s]” ostensibly encompassed by CIPA Sections 638.50-53 “have the
                      4
                          meanings set forth in subdivision (a) of Section 629.51.” Penal Code § 638.50.
                      5
                          Section 629.51, in turn, expressly limits these definitions “to the interceptions of
                      6
                          wire and electronic communications. It does not apply to stored communications or
                      7
                          stored content.” Id. § 629.51(b) (emphasis added). In fact, Section 629 as a whole
                      8
                          is exclusively related to law enforcement interception of the content of
                      9
                          communications, subject to court approval, while Sections 638.50-53 address law
                   10
                          enforcement interception of the signaling information, “but not the contents of a
                   11
                          communication.” Id. § 630.50(b),(c). In other words, the only way to read these
                   12
                          statutes consistently is that Sections 638.50-53 are expressly meant to build off of
                   13
                          Chapter 629 to fill in the limited gap of law enforcement’s prior lack of a statutory
                   14
                          mechanism to obtain the telephone numbers relevant to a criminal investigation,
                   15
                          rather than the content of a criminal suspect’s telephone calls.
                   16
                                This interpretation is further compelled by the fact that the only entities
                   17
                          encompassed by these provisions of CIPA are non-parties: the communications
                   18
                          service providers and peace officers who would be working together to install these
                   19
                          devices on target telephone lines.        Again, consent is only a defense for
                   20
                          the communication service provider, not a party to the communication under this
                   21
                          statute. Penal Code. § 638.51(b)(5). Put differently, parties to a communication
                   22
                          don’t have any express defense to the use of pen registers or trap and trace devices.
                   23
                          So either the California Legislature silently criminalized the practice of tens of
                   24
                          millions of Californians that use Caller ID service and the millions of websites that
                   25
                          obtain “signaling information” to operate, or this law only applies to interceptions –
                   26
                          which is exactly what Section 629.51(b) states. In short, this law has no application
                   27
                          to parties to a communication.
                   28
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                      1         Independently, while Section 538.51 states that “a person may not install or
                      2   use a pen register or a trap and trace device without first obtaining a court order
                      3   pursuant to Section 638.52 or 638.53,” the only persons who can get a court order
                      4   are “peace officers.” No one else. See Cal. Penal Code. §§ 638.52-53. Thus, these
                      5   provisions should be read in harmony: the “persons” referred to in Section 538.51
                      6   are those persons who can “first obtain[] a court order pursuant to Section 638.52 or
                      7   638.53” – which again, are only peace officers.30 Put another way, the scope of
                      8   persons subject to this law is qualified by their ability to obtain a court order. And
                      9   this is the only interpretation that comports with the legislative intent and history
                   10     behind this law, which as detailed above, was enacted solely to authorize law
                   11     enforcement to use these devices.31
                   12           Ultimately, it is clear from these incorporated definitions expressly limiting
                   13     their application to law enforcement interception that this law cannot apply to a party
                   14     like RPB on one end of a purported “communication.” Indeed, it is well-settled
                   15     through plain English and 50 years of CIPA precedent that a party to a
                   16     communication legally cannot “intercept” it. See, e.g., Rogers, 52 Cal. App. 3d at
                   17     898 (“a recording made by a participant does not intercept the message while it is
                   18     in transit”). Put differently, the (non-existent) communication Plaintiff had on
                   19     RPB’s website reached RPB – there is no dispute about that. The “offending code”
                   20     is admittedly “installed on its Website.” Compl. ¶ 9. (emphasis added). Interception,
                   21     however, cannot occur unless a third party somehow “halt(s) the transmission of the
                   22     messages to their intended recipients.” NovelPoster v. Javitch Canfield Grp., 140
                   23
                          30
                   24            See Ramos v. Garcia, 248 Cal. App. 4th 778, 785 (2016) (“A statute should
                          not be read in isolation, ‘but construed in context and ‘with reference to the whole
                   25     system of law of which it is a part so that all may be harmonized and have effect.’”)
                          (citing Compulink Management Center, Inc. v. St. Paul Fire and Marine Ins. Co.,
                   26     169
                          31
                               Cal.App.4th 289, 296 (2008)).
                                 See Hale v. S. California IPA Med. Grp., Inc., 86 Cal. App. 4th 919, 924
                   27     (“language that appears unambiguous on its face may be shown to have a latent
                          ambiguity; if so, a court may turn to customary rules of statutory construction or
                   28     legislative history for guidance.”) (2001). Further, because this is a penal law, any
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                          ambiguity should be interpreted in favor of RPB here.
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                      1   F.Supp.3d 938, 952 (N.D. Cal. 2014).              Conversely, “once an [electronic
                      2   communication] has been received by the destination server, a communication
                      3   becomes ‘stored’ and contemporaneous interception is no longer possible.”).
                      4   Lindsay-Stern v. Garamszegi, 2016 WL 11745948, at *4 (N.D. Cal. Oct. 13, 2016)
                      5   (emphasis added). Indeed, in a directly analogous case, the Third Circuit held that
                      6   website operators do not violate either the Federal Wiretap Act or CIPA through
                      7   their use of analytics cookies, precisely because “the California Act does not apply
                      8   when the alleged interceptor was a party to the communications.” In re Nickelodeon
                      9   Consumer Priv. Litig., 827 F.3d 262, 276 (3d Cir. 2016).
                   10           At bottom, as the party operating its website, RPB could never “intercept” any
                   11     communications with its own website as a matter of law. Because amendment would
                   12     be futile, Plaintiff’s claim should be dismissed with prejudice on this ground alone.
                   13           D.     Pen Registers and Trap and Trace Devices Are Limited To
                                       Telephones.
                   14
                   15           Plaintiff’s Complaint should be dismissed with prejudice on the independent

                   16     ground that there is no support in Sections 638.50-54, when read as a whole, that this

                   17     law applies beyond telephonic communications – both voice (wire communication)

                   18     and text (electronic communication). As established above, the only way a court

                   19     order for the use or installation of such devices can be issued is if the “peace officer”

                   20     specifically identifies “the person to whom is leased or in whose name is listed the

                   21     telephone line to which the pen register or trap and trace device is to be attached.”

                   22     Penal Code § 638.52(d)(1); see also id. § 638.52(d)(3) (the order “shall specify” the

                   23     “physical location of the telephone line to which the pen register or trap and trace is

                   24     to be attached”); see also id. § 638.54(b)(1) (only contemplating the “person owning

                   25     or leasing the line to which the pen register or trap and trace device is attached”).

                   26           In other words, if there is no telephone line being targeted, no court order can

                   27     be issued to use these devices. And the entire point of this law was to “authorize[]

                   28     state and local law enforcement to use pen register and trap and trace devices under
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                      1   state law,” subject to court approval and oversight.32 It would be absurd for the
                      2   Legislature – itself using the same technology on its websites – to intend that this law
                      3   should also be applied to websites and the Internet, but then draft the statutes
                      4   governing the court orders necessary to use these devices in a way that would make
                      5   this result impossible. Conversely, if the Legislature had intended this law to apply
                      6   to the website operators, thus impacting a huge swath of economic activity, with the
                      7   added risk of imprisonment, one would expect that it would reference the Internet at
                      8   least one time in either the statutory text or legislative history. But the Legislature
                      9   didn’t do so. Not once. Instead, as established above, the Legislature was expressly
                   10     operating with the understanding and intent that pen registers obtain information on
                   11     the outgoing telephone numbers called or texted, while trap and trace devices
                   12     collect the incoming numbers for calls or texts.33 That’s it.
                   13           Thus, when these statutes are read together and as a whole, which is how the
                   14     Court should read them, it is clear that Sections 638.50-54 are strictly limited to
                   15     telephonic communications (in transit), and have no application to the Internet or
                   16     websites. In fact, Judge Pfahler recently dismissed another boilerplate trap-and-trace
                   17     complaint, “strongly disput[ing]” that website operators could be in violation of this
                   18     law every time a visitor voluntarily visited their websites.34 See Licea v. Hickory
                   19     Farms LLC, No. 23STCV26148, 2024 WL 1698147, at *4 (Cal.Super. Mar. 13,
                   20     2024) (“the court also finds public policy strongly disputes Plaintiff’s potential
                   21     interpretation of privacy laws as one rendering every single entity voluntarily visited
                   22     by a potential plaintiff, thereby providing an IP address for purposes of connecting
                   23     the website, as a violator.”).
                   24
                          32
                   25     33
                                 See Fiorentino Decl., ¶ 11, Ex. J.
                          34
                                 See Fiorentino Decl., ¶ 11, Ex. J.
                   26            Suffice it to say that the Internet would literally not work unless IP addresses
                          and other “signaling information” are exchanged automatically between an
                   27     individual visitor and the destination website. It is therefore not hyperbole to state
                          that Plaintiff’s interpretation of this law would criminalize the Internet, because,
                   28     again, the only entities who have defenses are communications service providers,
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                          and no other entity – including website operators and consumers.
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                      1         The Court should similarly hold here that Section 638.51 does not apply to
                      2   website operators, and dismiss this case with prejudice.
                      3         E.     Allowing Plaintiff’s Complaint To Proceed Would Create An
                                       Untenable Conflict With The CCPA.
                      4
                      5         As also established above, the California Consumer Privacy Act

                      6   comprehensively regulates the data collection and sharing practices Plaintiff

                      7   complains about in the Complaint. Indeed, “Personal information” covered by the

                      8   CCPA is defined to include “Internet or other electronic network activity

                      9   information … and information regarding a consumer’s interaction with an

                   10     internet website application,” Civ. Code § 1798.140, or exactly the information

                   11     Plaintiff is complaining about here.

                   12           And as the California Privacy Protection Agency explains, “[b]usinesses can

                   13     collect information about you in several ways. … [A] business may use cookies or

                   14     web beacons to record the browser you used to visit the business, … or your IP

                   15     address. The business collects information about the actions you take online,

                   16     including via smart devices.”35 Further, as the Attorney General also makes clear, to

                   17     do so, businesses need only provide notice, typically through a privacy policy, “at

                   18     the point businesses collect your personal of the types of information they are

                   19     collecting and what they may do with that information.”36 Finally, consumers have

                   20     specific rights with respect to their data, including the right to delete their data and

                   21     the right to opt out of its collection.37 Laws, particularly penal laws like CIPA, must

                   22     give ordinary people fair notice of what conduct is punishable. See Grayned v. City

                   23
                   24     35
                                 See https://privacy.ca.gov/protect-your-personal-information/what-is-
                   25     personal-
                          information/#:~:text=Fortunately%2C%20California%20law%20gives%20us,your
                   26     %20household%2C%20directly%20or%20indirectly.
                          36
                                 See
                   27     https://oag.ca.gov/privacy/ccpa#:~:text=3.,and%20certain%20types%20of%20infor
                          mation.
                          37
                                   (last accessed January 24, 2025).
                   28            See https://oag.ca.gov/privacy/ccpa#sectionb. (last accessed January 24,
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                          2025).
   ATTORNEYS AT LAW                                     ˗ 26 ˗                2:25-CV-00106-PVC
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                      1   of Rockford, 408 U.S. 104, 108 (1972).38 Laws that are too vague are unenforceable
                      2   because they fail to establish standards for the public that are sufficient to guard
                      3   against arbitrary enforcement. See City of Chicago v. Morales, 527 U.S. 41, 52
                      4   (1999). And arbitrary enforcement would be the exact result here if the Court
                      5   allowed this claim to proceed – given that every website collects IP addresses, and
                      6   more than that, every level of the California government are verifiably using the same
                      7   analytics tools on their respective websites, including the Court’s. Of course, as
                      8   established above, these data collection practices are permissible under the CCPA,
                      9   which is the actual law that occupies this area, and not the inapposite Section 638.51
                   10     that should have no application here.
                   11     VII. CONCLUSION
                   12           For the foregoing reasons, Defendant respectfully requests that Plaintiff’s
                   13     Complaint be dismissed in its entirety with prejudice. As detailed above, the Court
                   14     lacks jurisdiction over RPB as they relate to Plaintiff’s claim. Independently,
                   15     Plaintiff could not have possibly suffered any concrete injury by merely visiting the
                   16     RPB website, Section 638.51 cannot apply to website operators as a matter of law,
                   17     and any further amendment would therefore be futile.
                   18
                                                                    Respectfully submitted,
                   19
                          Dated: January 30, 2025                     ARENTFOX SCHIFF LLP
                   20
                   21
                                                                      By:/s/ Lynn R. Fiorentino
                   22                                                    Lynn R. Fiorentino
                                                                         Susanne Boniadi
                   23                                                    Attorneys for Defendant
                                                                         Rad Power Bikes, Inc.
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                   27
                          38
                   28            See also Beckles v. U.S., 580 U.S. 256, 262 (penal laws that “encourage
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                          arbitrary and discriminatory enforcement” are unconstitutional).
   ATTORNEYS AT LAW                                     ˗ 27 ˗                2:25-CV-00106-PVC
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                      1          LOCAL RULE L.R. 11-6.1 CERTIFICATE OF COMPLIANCE
                      2         The undersigned, counsel of record for Defendants RAD POWER BIKES,
                      3   INC. certifies that this brief contains 8980 words, which complies with the word limit
                      4   of 9,000 per stipulation of the parties dated January 29, 2025 (ECF No. 7).
                      5                                             Respectfully submitted,
                      6   Dated: January 30, 2025                     ARENTFOX SCHIFF LLP
                      7
                      8                                               By:/s/ Lynn R. Fiorentino
                                                                         Lynn R. Fiorentino
                      9                                                  Susanne Boniadi
                                                                         Attorneys for Defendant
                   10                                                    Rad Power Bikes, Inc.
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                                                MOTION TO DISMISS
